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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

TARA THOMAS                                              §
                                                         §
v.                                                       §                              NO. 1:15-CV-00431
                                                         §
SHERIFF DEPARTMENT                                       §

 REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
 DISMISSING CASE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(b)

        This case is assigned to the Honorable Ron Clark, Chief United States District Judge, and

referred to the undersigned for pretrial management pursuant to General Order 05-07. Plaintiff

Tara Thomas, proceeding pro se and in forma pauperis, filed this case and twenty-eight other

cases against numerous defendants in the Eastern District of Texas, Beaumont Division, within a

two-week period beginning October 21, 2015.1 The court subsequently barred Thomas from

filing any pro se in forma pauperis civil proceedings in the Eastern District of Texas without the

advance written permission of a judge of the court. (Doc. No. 5.) Thomas then filed several new

cases in the Southern District of Texas, Houston Division, naming many of the same defendants

as her cases in this district.2 She is now barred from further filings in the Southern District of


          1. Thomas v. Sprott, No. 1:15-cv-387; Thomas v. Sheriff Department, No. 1:15-cv-388; Thomas v.
Allstate, No. 1:15-cv-389; Thomas v. Tiffany et al., No. 1:15-cv-390; Thomas et al. v. Jefferson County Sprint Team
et al., No. 1:15-cv-392; Thomas v. Flanagan et al., No. 1:15-cv-393; Thomas v. The Hartford Group, No. 1:15-cv-
394; Thomas v. Beaumont Police Department, No. 1:15-cv-395; Thomas et al. v. Woods, No. 1:15-cv-396; Thomas
v. Beaumont Police Department, No. 1:15-cv-397; Thomas v. Dollar General Store, No. 1:15-cv-398; Thomas v.
Baptist Hospital, No. 1:15-cv-399; Thomas v. Prosperity Bank, No. 1:15-cv-401; Thomas v. Cypress Bend Village,
No. 1:15-cv-402; Thomas v. Texas Crime Victims Compensation Program, No. 1:15-cv-403; Thomas v. First
National Bank/First Convenience Bank , No. 1:15-cv-410; Thomas v. Thomas, No. 1:15-cv-413; Thomas v. Parole
Division, No. 1:15-cv-414; Thomas v. A R Lay, No. 1:15-cv-417; Thomas v. Dillards Department Store, No. 1:15-
cv-418; Thomas et al. v. Atoff, No. 1:15-cv-419; Thomas v. BG Foods Inc., No. 1:15-cv-420; Thomas v. Uncle
Bobs Storage, No. 1:15-cv-423; Thomas v. Classic Chevrolet Beaumont, No. 1:15-cv-424; Thomas v. Macy’s, No.
1:15-cv-428; Thomas v. Chase Bank, No. 1:15-cv-429; Thomas v. Beaumont Police Department, No. 1:15-cv-430;
Udayasiri v. Mike Smith Autoplaza, No. 1:15-cv-436.
        2. See Thomas v. Scrogins, No. 4:15-mc-02846 (S.D. Tex. Nov. 23, 2015); Thomas v. Sheriff Department,
No. 4:15-mc-02939 (S.D. Tex. Dec. 7, 2015); Thomas v. Sheriff Department/Sprint Team, No. 4:15-cv-03582 (S.D.
Tex. Dec. 9, 2015); Thomas v. Ames, No. 4:15-mc-02953 (S.D. Tex. Dec. 9, 2015); Thomas v. Huntsville Prison,
No. 4:15-cv-03583 (S.D. Tex. Dec. 9, 2015); Thomas v. Beaumont Police Department, No. 4:15-cv-03585 (S.D.
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Texas as well. See Thomas et al. v. Beaumont Sheriff Department et al., No. 4:16-mc-00287

(S.D. Tex. February 29, 2016) (denying motion to proceed in forma pauperis and barring future

filings without seeking advance permission from the Chief Judge of the District).

        On April 6, 2016, the undersigned set Thomas’s application to proceed in forma pauperis

for a hearing on May 23, 2016. (Doc. No. 6.) The order setting hearing cautioned that “[f]ailure

to appear at the hearing may result in dismissal of all cases filed by the Plaintiff.” (Doc. No. 6.)

The clerk of court mailed the order to Thomas’s address3 via certified mail return receipt

requested. This order was returned to the court as unclaimed. (Doc. No. 7.) Thomas has not

provided the court with an updated address, and she failed to appear at the hearing on May 23,

2016. Accordingly, the undersigned recommends dismissing the above-referenced cases for

failure to prosecute according to Federal Rule of Civil Procedure 41(b).

                                             I. DISCUSSION

        Federal Rule of Civil Procedure 41(b) authorizes the district court to dismiss an action for

failure to prosecute or for failure to comply with any court order. Boudwin v. Graystone Ins.

Co., 756 F.2d 399, 401 (5th Cir. 1985). “This authority flows from the court’s inherent power to

control its docket and prevent undue delays in the disposition of pending cases.” Id. (citing Link

v. Wabash, R.R. Co., 370 U.S. 626, 629 (1962)). The orderly and expeditious disposition of

cases requires that a litigant provide the court with a correct address or, if the litigant’s address

changes, that he informs the court of the change. See Local Rule CV-11(e) (“A pro se litigant

must provide the court with a physical address, i.e., a P.O. box is not acceptable, and is



Tex. Dec. 9, 2015); Thomas v. Huntsville Prison, No. 4:15-mc-02940 (S.D. Tex. Dec. 7, 2015); Thomas v. Flanagan
et al., No. 4:15-mc-02954 (S.D. Tex. Dec. 9, 2015); Thomas v. Beaumont Police Department, No. 4:15-mc-02941
(S.D. Tex. December 7, 2015); Thomas et al. v. Beaumont Sheriff Department et al., No. 4:16-mc-00287 (S.D. Tex.
February 3, 2016).
        3. In each case, Thomas’s stated address is 155 IH 10 South No. 2, Beaumont, TX 77057.
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responsible for keeping the clerk advised in writing of the current physical address.”). The Fifth

Circuit has noted:

       It is neither feasible nor legally required that the clerks of the district courts
       undertake independently to maintain current addresses on all parties to pending
       actions. It is incumbent upon litigants to inform the court of address changes, for
       it is manifest that communications between the clerk and the parties or their
       counsel will be conducted principally by mail. In addition to keeping the clerk
       informed of any change of address, parties are obliged to make timely status
       inquiries. Address changes normally would be reflected by those inquiries if
       made in writing.

Shannon v. State of La., No. 87-3951, 1988 WL 54768, *1 (E.D. La. May 23, 1988) (quoting

Perkins v. King, No. 84-3310, Slip Op. at 4 (5th Cir. May 19, 1985)); see also Carey v. King,

856 F.2d 1439, 1440 (9th Cir. 1988) (per curiam) (pro se plaintiff’s case dismissed for failure to

prosecute when he failed to keep the court apprised of his current address). The exercise of the

power to dismiss for failure to prosecute is committed to the sound discretion of the court.

Forney Engineering Co., 589 F.2d 243, 247–48 (5th Cir. 1979).

       By failing to provide the court with a current or correct address, Thomas has failed to

diligently prosecute this case and the other twenty-eight cases she filed in this district.

Furthermore, Thomas did not comply with a court order requring her presence at a hearing on

her application to proceed in forma pauperis. Accordingly, Thomas’s cases should be dismissed

for want of prosecution pursuant to Rule 41(b).

                                  II. RECOMMENDATION

       The undersigned recommends that each of the following cases be dismissed without

prejudice for want of prosecution: 1:15-cv-387; 1:15-cv-388; 1:15-cv-389; 1:15-cv-390; 1:15-cv-

392; 1:15-cv-393; 1:15-cv-394; 1:15-cv-395; 1:15-cv-396; 1:15-cv-397; 1:15-cv-398; 1:15-cv-

399; 1:15-cv-401; 1:15-cv-402; 1:15-cv-403; 1:15-cv-410; 1:15-cv-413; 1:15-cv-414; 1:15-cv-
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417; 1:15-cv-418; 1:15-cv-419; 1:15-cv-420; 1:15-cv-423; 1:15-cv-424; 1:15-cv-428; 1:15-cv-

429; 1:15-cv-430; 1:15-cv-431; 1:15-cv-436.

                                       III. OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c) (Supp. IV 2011), each party to this action has the

right to file objections to this report and recommendation. Objections to this report must (1) be

in writing, (2) specifically identify those findings or recommendations to which the party objects,

(3) be served and filed within fourteen (14) days after being served with a copy of this report,

and (4) no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c); FED R. CIV. P.

72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

determination by the United States District Judge of those proposed findings and

recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)(c);

FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States

District Judge of the findings of fact and conclusions of law, (see Rodriguez v. Bowen, 857 F.2d

275, 276–77 (5th Cir. 1988)), and (2) appellate review, except on grounds of plain error, of any

such findings of fact and conclusions of law accepted by the United States District Judge. See

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996).


      SIGNED this 3rd day of June, 2016.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge
